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                         UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

United States of America

v.                                                    Case Number: AU:21-CR-00223(1)-LY

(1) Matthew Nelson Tunstall
     Defendant


                        ORDER SETTING REARRAIGNMENT AND PLEA

            IT IS HEREBY ORDERED that REARRAIGNMENT AND PLEA in the above
styled case has been set in the United States District Court, in Courtroom No. 3 on the Fourth
Floor of the United States Courthouse, 501 West Fifth Street, Austin Texas, on December 20,
2022 at 2:00 PM.

             All counsel noted below and defendant(s) must appear IN PERSON unless
specifically excused from appearing by the Court. Counsel for the defendant shall notify the
defendant of this setting, and if the defendant is on bond, advise the defendant that he/she must
be present on the date and time specified in this Order. Counsel are further reminded that it is
their duty to advise clients, witnesses, and others concerning rules of decorum to be observed in
Court (see Court Rule AT-5(b)12).

            Whenever defendants or witnesses in a criminal case have need for the services of a
court interpreter, counsel must inform the Clerk no later than five (5) business days before the
scheduled Court proceeding.

            IT IS FURTHER ORDERED that the parties shall file all documents pertinent to this
arraignment and plea no later than 5:00 P.M., 12/16/22. Failure to comply with this Order shall
result in the cancellation of the rearraignment and the referral of the case back to the District
Court.

SIGNED this 7th day of December, 2022 at AUSTIN, Texas.



                                               ______________________________
                                                    DUSTIN M. HOWELL
                                                  UNITED STATES MAGISTRATE JUDGE
